                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
             v.                                 )     No. 08-00297-CR-W-FJG
                                                )
ANGELA R. CLARK, et al.,                        )
                                                )
                           Defendant.           )

                                         ORDER

      Pending before the Court are (1) the Government’s Motions in Limine (Doc. No.

335, 337), (2) Defendant Cynthia Jordan’s Motions in Limine (Doc. No. 346, 338), and

Defendant Angela Clark’s Motions in Limine (Doc. No. 341).

I.    BACKGROUND

      Defendants Clark, a real estate agent, and Jordan, a loan officer, are charged

with conspiracy to defraud mortgage lenders through a scheme that took place between

June 2005 and May 2007. The scheme involved buying and selling new homes in Lee’s

Summit, Missouri and Raymore, Missouri at inflated prices, obtaining mortgage loans at

the inflated prices, and kicking back the excess loan proceeds to the home buyers

without the lenders’ knowledge. The indictment charges a total of 25 properties

purchased by fifteen buyers between June 2005 and May 2007.

II.   PLAINTIFF’S MOTIONS IN LIMINE

      The United States moves for an order in limine precluding any party from

introducing any testimony or evidence or making arguments concerning or in reference

to the following items of evidence.



      Case 4:08-cr-00297-FJG          Document 372   Filed 05/13/10   Page 1 of 7
      A.     Motion Regarding Personal Information of Defendant Jerome Howard
             and Non-Parties (Doc. No. 335)

      Preclude as irrelevant and immaterial pursuant to F.R.E. 401 and 402, any
      evidence or testimony that, “refers to, mentions, or discloses personal
      information of defendant Jerome Howard and/or personal information of non-
      parties, derived from the emails produced by the government in discovery,
      obtained from defendant Howard.”

      Clark opposes because the proposed excluded category is general and vague.
      The government does nothing to further define the exhibits or potential exhibits it
      wants excluded; thus, “there is no way to conclude whether the referenced
      documents and emails are relevant to the issues in this case.”

      Ruling: Provisionally overruled, provided the Government specifies which
      documents it seeks to exclude.

      B.      Motion Regarding Advice of Counsel (Doc. No. 336)

      Prohibit defendant Clark from introducing or referring to advice of counsel, unless
      and until the defendant has laid the proper foundation.

      Unopposed.

      Ruling: Sustained.

      C.      Motion Regarding Impeachment of Witnesses (Doc. No. 337)

      Prohibit the defense from cross-examining Government witnesses with prior
      convictions that are misdemeanors, or that are more than ten years old.

      Unopposed.

      Ruling: Sustained.

II.   DEFENDANT CYNTHIA JORDAN’S MOTIONS IN LIMINE

      Defendant Cynthia Jordan moves for an order in limine precluding any party from

introducing any testimony or evidence or making arguments concerning or in reference

to the following items of evidence.




                                             2


      Case 4:08-cr-00297-FJG          Document 372   Filed 05/13/10    Page 2 of 7
       A.    Motion to Preclude Testimony of Government Expert Witnesses
             Regarding Whether Defendant had the Requisite Mental State for the
             Crimes Charged (Doc. No. 346)

       Preclude the government’s proposed expert testimony regarding what Jordan
       knew or did not know about whether the buyers income, employment, intent to
       occupy and assets were accurate on their loan applications, and whether Jordan
       knew buyers were getting money back outside of the closings. Defendant Jordan
       argues such testimony is inadmissible under FRE 704(b) because Jordan’s
       mental state is an element of the crimes charged.

       The government responds that it “does not intend to elicit testimony from any of
       its expert witnesses as to whether defendant Jordan had the mental state or
       condition constituting an element of the crimes charged.”

       Ruling: Sustained.

       B.    Motion to Preclude the Testimony of Expert Witness Sandra G.
             Thomas (Doc. No. 338)

       Defendant Jordan seeks to preclude the testimony of Thomas on two grounds:
       (1) Thomas’s Disclosure Fails to Satisfy Rule 16's Standards Because it Fails to
       Describe the Bases and Reasons for Her Opinions, and (2) Thomas’s Proposed
       Testimony Fails to Meet Fed. Rule of Evidence 702's Standards Because it Does
       Not Have a Reliable Foundation and is Speculative.

       The government responds the expert witness disclosure satisfies the
       requirements of Fed. R. Crim. Pro. 16(a)(1)(G), as it contains Thomas’s
       qualifications, both in summary form and with a resume, and a written summary
       of the bases and reasons for her opinions. Further, the witness disclosure
       complies with F.R.E 702 because it is technical and/or specialized knowledge
       which will assist the jury in understanding the evidence and determining the facts
       at issue.

       Ruling: Provisionally overruled, contingent upon the government providing
       additional information about Thomas’ testimony regarding fiduciary duties.

III.   DEFENDANT CLARK’S MOTIONS IN LIMINE

       Defendant Angela Clark moves for an order in limine precluding any party from

introducing any testimony or evidence or making arguments concerning or in reference

to the following items of evidence.


                                             3


       Case 4:08-cr-00297-FJG         Document 372   Filed 05/13/10    Page 3 of 7
A.     References to “Mortgage Fraud”

Clark argues the term should be precluded under F.R.E. 403 because it “is
argumentative, misleading, as is imbued with prejudice that far outweighs any
probative value.”

The government intends to use the term “mortgage fraud” primarily in opening
statement and closing arguments, and to propose the term “mortgage fraud” for
use in voir dire. The government does not intend to use the phrase “mortgage
meltdown.”

Ruling: The Court declines to rule on this motion at this time, pending resolution
by the parties.


B.     Pleas by Other Defendants

Defendant Clark seeks to limit the testimony of co-defendants or related case
defendants that have pleaded guilty. The Government may introduce the fact
that several witnesses have pleaded guilty to the conspiracy charge, but the
Government “should be precluded from offering evidence at trial that they
pleaded guilty to a conspiracy with Angela Clark.” A witness’s plea cannot be
used as substantive evidence of the defendant’s guilt.

The government intends to call several co-defendants to testify regarding the
scheme, their own and others parts in it, and their knowledge of the facts. They
will be asked if they were charged in the same indictment and have pleaded
guilty, including that they pleaded guilty to Count One- conspiracy. The
government does not intend to ask those witnesses whether they conspired with
Clark specifically, but the fact is that Clark is also being charged in Count One.

Ruling: Overruled.

C.     Evidence of Administrative Action Related to Angela Clark’s Missouri
       Real Estate License

Defendant Clark seeks to prohibit reference to an administrative proceeding the
Missouri Real Estate Commission initiated against Clark in 2004. The claims in
the administrative proceeding are not relevant to the offenses alleged in the
Indictment, are not within the temporal span of the alleged conspiracy, and did
not result in the loss of Clark’s license, or in any disciplinary action against her.

The government does not intend to offer evidence about the 2004 action.



                                       4


Case 4:08-cr-00297-FJG       Document 372        Filed 05/13/10    Page 4 of 7
Ruling: Sustained.

D.    Evidence of Loss Claimed by Lenders or Others

Defendant Clark seeks an order prohibiting evidence of loss claimed by lenders
or others. The alleged losses in this case are a result of the default by the
borrowers on the mortgages. The alleged losses occurred after the alleged
fraudulent acts occurred, and thus, are not part of the fraudulent conduct and are
not an element of what the jury must find to return a guilty verdict against Clark
on any of the charges.

The government does not intend to offer evidence regarding the amount of loss
sustained by the lenders, although there will be evidence regarding the amount
of loans obtained, the kickbacks and commissions paid, other monies flowing
from the scheme and the loans that went into default.

Ruling: Sustained; however, evidence regarding the amount of loans obtained.
the kickbacks and commissions paid, and other monies flowing from the scheme
and the loans that went into default, is admissible.

E.    The Government Should be Precluded from Eliciting “Mirroring
      Hypotheticals” from Its Experts or Using Terminology Designed to
      Elicit Statements Concerning the Defendant’s Mental State.

Defendant Clark argues the Court should preclude “mirroring hypotheticals” in
which the expert states an opinion which includes or provides an inference as to
Clark’s mental state or condition in connection with the crimes charged. F.R.E
704(b) provides that no expert may state an opinion or inference as to whether
the defendant had the mental state or condition constituting an element of the
crime charged or of a defense thereto. The mental state or condition of a
defendant, such as whether the defendant possessed requisite intent, is an
ultimate issue for the trier of fact.

The government responds that it is not “direct expert testimony” concerning
Clark’s mental state to ask whether certain actions in connection with loans are
red flags to a lender: for instance, (1) that the prices of the homes were
increased by substantial amounts on the properties previously in the Multiple
Listing Service; (2) that the buyers were to receive between $65,000 and
$125,000 cash back from the loan proceeds after closing; (3) that the buyers
were told to set up companies to receive cash back from the loan proceeds; and
(4) the buyers were told to set up bank accounts in the names of those
companies into which to deposit the funds. Testimony regarding “red flags of
fraud” goes to factors the lender or witness looks for, which may cause further
scrutiny, and which (if known) would cause the lender to disapprove a loan.


                                     5


Case 4:08-cr-00297-FJG      Document 372      Filed 05/13/10    Page 5 of 7
Such testimony does not elicit direct expert testimony as to the defendant’s
mental state.

Ruling: Overruled.

F.     The Government Should be Precluded from Asserting, Referencing,
       or Eliciting Testimony from its Expert Witness, Sandra G. Thomas, as
       to the Duties of a Real Estate Agent in Lending Transactions,
       Including Whether a Fiduciary Duty Exists.

Real estate agents in Missouri have no fiduciary duty to lenders, and have no
duty to independently verify the accuracy or completeness of statements made
by the client. Agents are not subject to criminal liability for breaches of their
fiduciary duty set forth in Mo. Rev. Stat. §339.710-860. Allowing the breach of
fiduciary duty concept to be introduced in a criminal case also presents a very
real risk of misleading the jurors and of jurors ultimately basing their verdicts on
their belief that fiduciary duties were violated, rather than the violation of criminal
statutes.

The government intends to solicit testimony regarding the relationships and
duties of the various parties to a real estate and lending transaction. The
government does not intend to solicit testimony that would indicate any criminal
liability arising from the mere fact of such a relationship. Clark’s knowledge,
training, experience and duties and responsibilities are relevant to the issue of
her intent- which is an element of the offenses, and which the government must
prove. If the defendant believes Thomas’s testimony is inaccurate, that is a
matter for cross-examination. Any risk the jury may be misled or confused can
be eliminated by a limiting instruction.

Ruling: Overruled.

G.     The Government Should be Precluded from Asserting, Referencing,
       or Eliciting Testimony from its Expert Witnesses, Sandra G. Thomas
       and Jan Pringle as to the “Consequences” When Settlement Service
       Providers’ Duties Are Breached in Lending Transactions, Why They
       Believe That Certain Reviewed Transactions Are “Suspect and Raise
       Red Flags,” or Why the Charged Misrepresentations Are Significant
       to Lenders, As it is Argumentative and Invades the Province of the
       Jury.

Whether and to what extent certain information is “significant” to lenders amounts
to speculation and equates the “significance” of certain information to the
“materiality” the jury must find pursuant to the definition of “scheme to defraud”
the jury will hear. Further, use of the term “red flags of fraud” opines on the


                                       6


Case 4:08-cr-00297-FJG        Document 372       Filed 05/13/10     Page 6 of 7
      defendant’s mental state and insinuates intent in violation of Rule 704(b). The
      term also embraces an ultimate issue which is a matter for the trier of fact.

      The government responds such evidence is all relevant and admissible.
      Whether certain information is significant to lenders is precisely within the
      province of expert testimony; it is technical and specialized knowledge that will
      assist the jury to determine a fact in issue (i.e. materiality) but does not make the
      decision for them. Testimony is also admissible as to the consequences when
      settlement service providers’ duties are reached. When lenders rely on
      misrepresentations and omissions of material facts, they make loans and
      authorize funds to be disbursed. The consequences are part of the scheme
      charged.

      Ruling: Overruled.

      H.     The Government Should Be Precluded from Asserting, Referencing,
             or Eliciting Testimony from its Expert Witnesses, Mark Brewster,
             Bonnie Maret, Douglas Morris, Kevin Patterson, John Strong, and
             Jan Pringle, as to the Impact of Loan Defaults on the Neighborhoods,
             As Such Evidence is Irrelevant, Argumentative, and Invades the
             Province of the Jury.

      Evidence of something as subjective as “impact on the neighborhood” is wholly
      irrelevant- it is not an element of the offenses charged, was not mentioned in the
      indictment, and would be offered for no purpose other than to inflame the jury.
      Such evidence would only be arguably relevant at a sentencing hearing.

      The government responds that testimony as to the impact of the transactions at
      issue is relevant to multiple issues, including knowledge and intent, and the
      conspiracy. The evidence will show that after defendant sold the houses, the
      houses were left unoccupied, not cared for, and not maintained, in
      neighborhoods in which defendant continued to sell and be active. The condition
      and state of these houses affected market and values in the neighborhood. This
      evidence is relevant under F.R.E 402, and the probative value is not substantially
      outweighed by the danger of unfair prejudice, confusion, or otherwise under
      F.R.E 403.

      Ruling: Sustained.

IT IS SO ORDERED.

Dated: 05/13/10                                 /s/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                           Fernando J. Gaitan, Jr.
                                                Chief United States District Judge


                                            7


      Case 4:08-cr-00297-FJG       Document 372       Filed 05/13/10    Page 7 of 7
